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                     EXH. 9
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   Cooley
   Alan Levine
   1 212 479 6260
   alevine@cooley.com



   February 16, 2018

   Karen Zappitelli
   Zappitelli CPA, Inc.
   5271 Norwich Street
   Hillard, OH 43026

   Re: Service of Process on Defendants Moonbase Holdings, LLC and Andrew Anglin

   Dear Ms. Zappitelli:
                                                                                                       Holdings,
    represent Plaintiffs in Sines v. Kessler, et. al., Case No. 14 Civ. 0072(NKM) in which Moonbase
                                            .  Plaintiffs have attempted  to personally serve Moonbase Holdings,
   LLC and Andrew Anglin are defendants
                                                                                                      Suite 121,
   LLC and Mr. Anglin at Moonbase Holdings' registered agent address of 6827 N. High Street,
   Worthington, OH 43085.
                                                                                             mail at the
   I n January 2018, the Ohio Secretary of State served Moonbase Holdings, LLC via certified
   foregoing address and  we have received confirmatio n that service is complete.

                                                                                         LLC and Mr.
     understand that you may have been retained as an accountant for Moonbase Holdings,
    Anglin. As a courtesy, we are enclosing a copy of the summons and amended complaint.




    Please do not hesitate to contact me should you have any questions.




    Sincerely,



           G~

    Alan Levine




                                  Cooley LLP 1114 Avenue of the Americas New York, NY 10036
                                          t:(212)479-6000 f: (212) 479-6275 cooley.com
